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STATE OF CONNECTICUT:
                                  SS: HARTFORD                           JUNE 10, 2024
COUNTY OF HARTFORD:


Then and by virtue hereof, and by direction of the Plaintiffs Attorney, pursuant to C.G.S. Section
34-3 81 (d), I left two (2) verified, true and attested copy of the within original UNITED STATES
DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX PARTE MOTION FOR
CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE
OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE: CHARGING
ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING at the office of the
Secretary of State, Statutory Agent for Service and duly authorized to accept service on behalf of the
within named Defendant CLEMENS PLACE CT LIMITED PARTNERSHIP and paid statutory
fees in the amount of $50.00, at 165 Capitol Avenue, in the City of Hartford, County of Hartford.

And afterward on the 10th day of June, 2024, I left a verified, true and attested copy of the within
original UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX
PARTE MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE:
CHARGING ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT,
DISTRICT OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE:
CHARGING ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING with
Gary Scappini, Manager of VCORP Services, LLC, Registered Agent for Service and duly authorized
to accept service on behalf of the within named Defendant ASYLUM HILL APT LLC at 67 Burnside
Avenue, in the Town of East Hartford, County of Haiiford.

And afterward on the 10th day of June, 2024, I left a verified, true and attested copy of the within
original UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX
PARTE MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE:
CHARGING ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT,
DISTRICT OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE:
CHARGING ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING with
and in the hands of Ingrid Opito, Person in charge of Riverside Filings LLC, Registered Agent for
Service and duly authorized to accept service on behalf of the within named Defendant HOYT
BEDFORD LIMITED PARTNERSHIP at 28 Crystal Street, in the Town of Wethersfield, County of
Hartford.

And afterward on the 10th day of June, 2024, I left a verified, true and attested copy of the within
original UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX
PARTE MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE:
CHARGING ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT,
DISTRICT OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE:
CHARGING ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING with
and in the hands of Ingrid Opito, Person in charge of Riverside Filings,LLC, Registered Agent for
Service and duly authorized to accept service on behalf of the within named Defendant PAX
HARTFORD PORTFOLIO LIMITED PARTNERSHIP at 28 Crystal Street, in the Town of
Wethersfield, County of Hartford.
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And afterward on the 10th day of June, 2024, I left a verified, true and attested copy of the within
original UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX
PARTE MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE:
CHARGING ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT,
DISTRICT OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE:
CHARGING ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING with
and in the hands of Ingrid Opito, Person in charge of Riverside Filings LLC, Registered Agent for
Service and duly authorized to accept service on behalf of the within named Defendant PAX
GARDEN LIMITED PARTNERSHIP at 28 Crystal Street, in the Town of Wethersfield, County of
Hartford.

And afterward on the 10th day of June, 2024, I left a verified, true and attested copy of the within
original UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX
PARTE MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE:
CHARGING ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT,
DISTRICT OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE:
CHARGING ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING with
and in the hands of Ingrid Opito, Person in charge of Riverside Filings LLC, Registered Agent for
Service and duly authorized to accept service on behalf of the within named Defendant PAX
HARTFORD PORTFOLIO LIMITED PARTNERSHIP at 28 Crystal Street, in the Town of
Wethersfield, County of Hartford.

And afterward on the 10th day of June, 2024, a verified, true and attested copy of the within original
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX PARTE
MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE: CHARGING
ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT, DISTRICT
OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE: CHARGING
ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING was deposited in
the U.S. Mail, New Britain, CT, Certified Mail and Return Receipt Requested, addressed to the within
named Defendant:
CLEMENS PLACE CT LIMITED PARNERSHIP
105 RIVER POINTE WAY
APT 3112
LAWRENCE, MA01843

The correct mailing address is stated above.
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And afterward on the 10th day of June, 2024, a verified, true and attested copy of the within original
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: SECOND EX PARTE
MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF RE: CHARGING
ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT COURT, DISTRICT
OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER, BRIEF RE: CHARGING
ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC FILING was deposited in
the U.S. Mail, New Britain, CT, Certified Mail and Return Receipt Requested, addressed to the within
named Defendant:
ASYLUM HILL APT LLC
10 HILL STREET SUITE lE
NEWARK, NJ 07102

The correct mailing address is stated above.

And afterward on the 10th day of June, 2024, pursuant to C.G.S. 34-243r(c), a verified, true and
attested copy of the within original UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT
CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING,
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION
FOR CHARGING ORDER, BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and
NOTICE OF ELECTRONIC FILING was deposited in the U.S. Mail, New Britain, CT, Certified Mail
and Return Receipt Requested, addressed to the within named Defendant:
HOYT BEDFORD MANAGER, LLC
AGENT: VCORP SERVICES, LLC
108 W. 13TH STREET-SUITE 100
WILMINGTON, DE 19801

And afterward on the 10th day of June, 2024, pursuant to C.G.S. 34-243r(c), a verified, true and
attested copy of the within original UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT
CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING,
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION
FOR CHARGING ORDER, BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and
NOTICE OF ELECTRONIC FILING was deposited in the U.S. Mail, New Britain, CT, Ce1iified Mail
and Return Receipt Requested, addressed to the within named Defendant:
APEX EQUITY GROUP LLC
AGENT: THE CORPORATION TRUST COMPANY
CORPORATION TRUST CENTER
1209 ORANGE STREET
WILMINGTON, DE 19801
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And afterward on the 10th day of June, 2024, pursuant to C.G.S. 34-243r(c), a verified, true and
attested copy of the within original UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT
CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING,
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION
FOR CHARGING ORDER, BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and
NOTICE OF ELECTRONIC FILING was deposited in the U.S. Mail, New Britain, CT, Certified Mail
and Return Receipt Requested, addressed to the within named Defendant:
PAX HARTOFRD PORTFOLIO GP LLC
AGENT: DAVID HELFGOTT
36 AIRPORT ROAD
LAKEWOOD, NJ 08701

And afterward on the 10th day of June, 2024, pursuant to C.G.S. 34-243r(c), a verified, true and
attested copy of the within original UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT
CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING,
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION
FOR CHARGING ORDER, BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and
NOTICE OF ELECTRONIC FILING was deposited in the U.S. Mail, New Britain, CT, Certified Mail
and Return Receipt Requested, addressed to the within named Defendant:
PAXE GARDEN GP LLC
AGENT: DAVID HELFGOTT
36 AIRPORT ROAD
LAKEWOOD, NJ 08701

And afterward on the 10th day of June, 2024, pursuant to C.G.S. 34-243r(c), a verified, true and
attested copy of the within original UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT
CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING,
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION
FOR CHARGING ORDER, BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and
NOTICE OF ELECTRONIC FILING was deposited in the U.S. Mail, New Britain, CT, Certified Mail
and Return Receipt Requested, addressed to the within named Defendant:
PAX HARTOFRD PORTFOLIO GP LLC
AGENT: DAVID HELFGOTT
36 AIRPORT ROAD
LAKEWOOD, NJ 08701
             Case 3:23-cv-00903-MPS Document 64 Filed 07/02/24 Page 5 of 5



And afterward on the 10th day of June, 2024, pursuant to C.G.S. 34-243r(c), a verified, true and
attested copy of the within original UNITED STATES DISTRICT COURT, DISTRICT OF
CONNECTICTUT: SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT
CHARGING ORDER, BRIEF RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING,
UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION
FOR CHARGING ORDER, BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and
NOTICE OF ELECTRONIC FILING was deposited in the U.S. Mail, New Britain, CT, Certified Mail
and Return Receipt Requested, addressed to the within named Defendant:
CLEMENS MANAGER LLC
AGENT: DAVID HELFGOTT
36 AIRPORT ROAD
LAKEWOOD, NJ 08701


The within are the original UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICTUT:
SECOND EX PARTE MOTION FOR CHARGING ORDER, DRAFT CHARGING ORDER, BRIEF
RE: CHARGING ORDER, NOTICE OF ELECTRONIC FILING, UNITED STATES DISTRICT
COURT, DISTRICT OF CONNECTICTUT: EX PARTE MOTION FOR CHARGING ORDER,
BRIEF RE: CHARGING ORDER, DRAFT CHARGING ORDER and NOTICE OF ELECTRONIC
FILING and with my doings hereon endorsed.

SERVICE:                 $ 360.00               ATTEST:
PD SEC OF STATE             50.00
PD POSTAGE                  85.52
PAGES                      420.00
16 MILES                    10.48
ENDORSEMENTS                30.50               TIMO Y J. BENNETT
TOTAL:                   $ 956.50               CONNECTICUT STATE MARSHAL
                                                HARTFORD COUNTY
